                       Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 1 of 16
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                           FILED
                                                              for the                                                         Jun 08 2023

                                                                                                                             Mark B. Busby
                                                 Northern District
                                               __________  DistrictofofCalifornia
                                                                        __________                                     CLERK, U.S. DISTRICT COURT
                                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                            SAN FRANCISCO
                  United States of America                       )
                             v.                                  )
                  Kevin ESTRADA MEJIA
                                                                 )      Case No. 3:23-mj-70834 MAG
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               February 16, 2023              in the county of            San Francisco                 in the
     Northern          District of         California        , the defendant(s) violated:

            Code Section                                                   Offense Description
21 U.S.C. § 841(a)(1) and 841(b)(1)          Distribution of fentanyl (aiding and abetting)
(C)
                                             Maximum penalties:
18 U.S.C. § 2                                • Imprisonment: 20 years (21 U.S.C. § 841(b)(1)(C))
                                             • Fine: $1 million (21 U.S.C. § 841(b)(1)(C))
                                             • Supervised Release: Min. 3 years – Max. life (21 U.S.C. § 841(b)(1)(C))
                                             • Special Assessment: $100 (18 U.S.C. § 3013(a)(2)(A))
                                             • Forfeiture: 21 U.S.C. § 853(a) | Deportation | Denial of Federal Benefits

         This criminal complaint is based on these facts:
Please see the attached affidavit of DEA SA Connor R. Hooper




         ✔ Continued on the attached sheet.
         ’

                                                                                            /s/ Connor R. Hooper
                                                                                            Complainant’s signature
         Approved as to form /s/ Nicholas M. Parker
                                                                                       DEA SA Connor R. Hooper
                         AUSA Nicholas M. Parker
                                                                                              Printed name and title

Sworn to before me by telephone.


Date:             06/08/2023
                                                                                                Judge’s signature

City and state:                  San Francisco, California                       Hon. Sallie Kim, U.S. Magistrate Judge
                                                                                              Printed name and title
            Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 2 of 16




                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Connor R. Hooper, a Special Agent of the Drug Enforcement Administration, being

duly sworn, hereby declare as follows:

                     INTRODUCTION AND PURPOSE OF AFFIDAVIT

       1.      I make this Affidavit in support of an application under Rule 4 of the Federal

Rules of Criminal Procedure for a criminal complaint and arrest warrant charging Kevin

Estrada MEJIA with one count of distribution of a mixture or substance containing a detectable

amount of N-phenyl-N- [1- ( 2-phenylethyl ) -4-piperidinyl] propanamide, also known as

fentanyl, and aiding and abetting another individual in the same, in violation of 21 U.S.C.

§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2, on or about February 16, 2023, in the Northern

District of California.

                                SOURCES OF INFORMATION

       2.      Because this Affidavit is submitted for the limited purpose of securing a criminal

complaint and arrest warrant, I have not included every fact known to me concerning this

investigation. Instead, I have set forth only the facts necessary to establish probable cause that

the violations of federal law identified above have occurred.

       3.      I have based my statements in this Affidavit on my training and experience,

personal knowledge of the facts and circumstances obtained through my participation in this

investigation, information provided by other agents and law enforcement officers, and

information provided by records and databases. I believe these sources to be reliable. Where I

refer to conversations and events, I refer to them in substance and in relevant part rather than in

their entirety or verbatim, unless otherwise noted. This Affidavit also reflects my current

understanding of facts relating to this investigation, but my understanding may change in the

future as the investigation proceeds.

                                   AFFIANT BACKGROUND

       4.      I am a Special Agent with the DEA assigned to the DEA San Francisco Divisional

Oakland Resident Office in Oakland, California, and have been so employed since July 2019.

                                                  1
            Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 3 of 16




       5.      As a Special Agent of the DEA, I am an investigator and law enforcement officer

of the United States within the meaning of 18 U.S.C. § 2510(7). I am empowered by law to

conduct investigations, to execute search warrants, and to make arrests for offenses of federal

law, including drug offenses. I investigate narcotics and related offenses.

       6.      My training included a seventeen-week DEA Basic Agent Training Academy at

the DEA Academy in Quantico, Virginia. This training included instruction in the investigation

of federal drug violations, including, but not limited to, 21 U.S.C. §§ 841 and 846. Additionally,

this training included several hundred hours of comprehensive, formalized instruction in, but not

limited to, narcotics investigations, drug identification, detection, interdiction, financial

investigations and money laundering, informant handling, law classes, report writing,

identification and seizure of drug related assets, undercover operations, and electronic and

physical surveillance procedures.

       7.      During the course of my employment as a DEA Special Agent, I have participated

in over 30 narcotics investigations either as a case agent or in a supporting role. I have debriefed

defendants, confidential sources, and witnesses who had personal knowledge regarding narcotics

trafficking organizations. I also have participated in many aspects of drug investigations

including, but not limited to, undercover operations, telephone toll analysis, records research,

and physical and electronic surveillance. I have assisted in court-ordered wiretap investigations,

and I have participated in the execution of numerous federal and state narcotics search and arrest
warrants that resulted in the arrest of suspects and seizure of narcotics.

       8.      Through my training, education, experience, and my conversations with other

experienced agents and officers who conduct drug investigations, I have become familiar with

narcotics traffickers’ use of mobile telephones and mobile telephone applications, Internet

applications, social media applications, as well as narcotics traffickers’ use of code words to

conduct business. I have become familiar with narcotics traffickers’ methods of operation,

including, but not limited to, the manufacturing, distribution, storage, and transportation of




                                                   2
             Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 4 of 16




narcotics, and the methods used by drug traffickers to collect, transport, safeguard, remit, and/or

launder drug proceeds.

       9.       During the course of my law enforcement career, I have been involved in

investigations of numerous federal and state criminal offenses. I have participated in numerous

investigations of illicit drug trafficking organizations, ranging from street level dealers to major

drug trafficking organizations (“DTO”). These investigations have included the use of

confidential sources (“CS”), undercover agents (“UC”), and sources of information (“SOI”)

(collectively “Sources”). These investigations have also included the unlawful importation of,

possession with intent to distribute, and distribution of controlled substances, the related

laundering of monetary instruments, the conducting of monetary transactions involving the

proceeds of specified unlawful activities, and conspiracies associated with criminal narcotics

offenses, etc. These investigations have resulted in numerous state and/or federal prosecutions of

individuals who have possessed, imported, or distributed controlled substances, as well as the

seizure of those illegal drugs and the proceeds from the sale of those illegal drugs.

       10.      I have been involved in the execution of numerous federal and/or state narcotics-

related search warrants. As a result, I have encountered and become familiar with the various

tools, methods, trends, paraphernalia, and related articles used by drug traffickers and trafficking

organizations in their efforts to import, conceal, manufacture, and distribute controlled

substances. I am familiar with the appearance of heroin, cocaine, methamphetamine, marijuana,
MDMA, and other controlled substances. I am familiar with and aware of the terminology used

by narcotics traffickers concerning narcotics and narcotics dealing.

       11.      I have interviewed numerous drug dealers, users, and confidential informants, and

have discussed with them the lifestyle, appearances, and habits of drug dealers and users, the use

and meaning of coded language and the concealment of assets. I have become familiar with the

manner in which narcotics traffickers smuggle, transport, store, and distribute narcotics, as well

as how they collect and launder drug proceeds. I am also familiar with the manner in which

narcotics traffickers use telephones, cellular telephone technology, pagers, coded or slang-filled


                                                  3
              Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 5 of 16




telephone conversations, false or fictitious identities, and other means to facilitate their illegal

activities and thwart law enforcement investigations.

        12.      During my time at DEA, I have initiated and participated in Organized Crime

Drug Enforcement Task Force (OCDETF) investigations. The OCDETF program is part of the

United States Attorney General’s drug strategy to reduce the availability of drugs by disrupting

major trafficking organizations through joint-agency collaboration.

        13.      I have participated in approximately five investigations in which court-authorized

Title III interceptions were used in narcotics and/or money laundering investigations. During

these investigations, I have listened to and deciphered conversations between narcotics

traffickers in which they discussed their criminal activities in coded language or intentionally

vague language, and which were later corroborated by surveillance or defendants’ statements. I

have also interviewed several drug traffickers after their arrest, as well as confidential sources,

and discussed with them the meaning of the coded language they used during the course of the

commission of drug and money laundering offenses. During these interviews, the arrested drug

traffickers and confidential sources have explained to me how they use coded language to

conceal the true nature of their conversations from law enforcement and anyone who may be

listening or overhear the conversation. As a result, a person who did not know the code or their

meaning would think the individuals were having an innocent conversation or would be confused

by the conversation since it would not make sense to that person.
        14.      Before joining DEA, I was Police Officer for the City of Chicago. As part of my

official duties as a Chicago Police Officer, I responded to 911-dispatched calls involving

homicides, gang and domestic violence, drug trafficking, emergencies, traffic accidents, and

other criminal activity. I arrested numerous individuals, to include drug traffickers, on

misdemeanors and felony charges. In addition, I collected preliminary investigation information

as a first responder to crime scenes. I conducted over 100 traffic stops, while also issuing

citations and mandatory court appearances. I organized and wrote reports related to arrests,

investigatory stops, and other observed incidents. In this role, I also participated in the execution


                                                   4
             Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 6 of 16




of multiple state issued search warrants, and testified in the State of Illinois Circuit Court of

Cook County. I collected and processed evidence to include firearms and narcotics. I interviewed

violent offenders and drug traffickers, as well as obtained testimony from witnesses and/or victims.

       15.      I have personally participated in the investigation discussed in this affidavit. I am

familiar with the facts and circumstances of the investigation through my personal participation.

I have also learned other things about this investigation from fellow law enforcement officers

and agents. Unless otherwise noted, wherever in this affidavit I assert that a statement was made,

the information was provided by a DEA agent or task force officer, law enforcement officer, or

witness who may have had either direct or hearsay knowledge of that statement and to whom I or

others have spoken, or whose reports I have read and reviewed. Such statements are among

many statements made by others and are stated in substance and in part unless otherwise

indicated. Because this affidavit is being submitted for the limited purpose of showing that there

is sufficient probable cause for the requested warrant, I have not set forth everything I know

about this investigation.

                                       APPLICABLE LAW

       1.       Title 21, United States Code, Section 841(a)(1) and (b)(1)(C) prohibits any person

from knowingly or intentionally distributing a mixture or substance containing a detectable

amount of N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ] propanamide, also known as

fentanyl. Fentanyl is a Schedule II substance under the Controlled Substances Act.
       2.       The elements of a violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C) are as follows:

(i) the defendant knowingly distributed a mixture or substance containing a detectable amount of

fentanyl; and (ii) the defendant knew that the substance he distributed was or contained fentanyl

or some other federally controlled substance. “Distributing” means delivering or transferring

possession of fentanyl to another person, with or without any financial interest in that transaction.

       3.       Title 18, United States Code, Section 2 provides that one who “aids” or “abets”

the commission of an offense against the United States—including a violation of 21 U.S.C.

§ 841(a)(1) and (b)(1)(C)—“is punishable as a principal.”


                                                  5
            Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 7 of 16




                       FACTS ESTABLISHING PROBABLE CAUSE

A.     Overview of Investigation

       1.      The Drug Enforcement Administration (“DEA”), Oakland Resident Office, is

investigating the drug trafficking activities of MEJIA and certain of his known and as-yet

unknown co-conspirators, including Darwin AVILA-DIAZ. Based on the investigation

conducted so far, agents have learned that AVILA-DIAZ and MEJIA are mid- or street-level

poly-drug distributers who live outside San Francisco but regularly commute to the Tenderloin

district, where they work together to distribute narcotics, including fentanyl, heroin, and cocaine.

B.     Agents Conduct Controlled Purchases of Drugs from AVILA-DIAZ in the Tenderloin

       2.      In September 2022, as part of an ongoing investigation, agents identified AVILA-

DIAZ as a suspected mid- or street-level narcotics dealer who uses a cellular telephone assigned

call number (415) 879-0253 (“TT1”) in furtherance of narcotics-trafficking activities that he

conducts in the Tenderloin district of San Francisco, perhaps among other places.

       3.      Between January and May 2023, law enforcement officers conducted multiple

controlled purchase operations in which a UC purchased heroin, cocaine, and fentanyl from

AVILA-DIAZ in the Tenderloin. I served as the UC in all of these transactions.

       January 13, 2023: First UC Purchase
       4.      In the first of the controlled purchase operations, I sent a recorded text message to

TT1 at approximately 11:52 a.m. on January 13, 2023, in which I told AVILA-DIAZ—with

whom I had no prior relationship and had never communicated—that I needed “some black”

(which I know from my training and experience is a common street and slang term for heroin)

and asked AVILA-DIAZ if he would be “by Eddy n Hyde St around 1.” 1 One minute later,

AVILA-DIAZ responded: “It’s okay, Teve or by civi you can,” which I understood to mean that

he was agreeing to sell me heroin at or near the Civic Center BART Station, which is in the

Tenderloin and which I know from my training and experience is a common location for drug

       1
          My communications with AVILA-DIAZ were primarily in English. On one occasion I
used Google Translate (English to Spanish), but that communication is not set forth in this
affidavit.

                                                 6
             Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 8 of 16




transactions.

       5.       In subsequent conversations that same day, AVILA-DIAZ and I agreed to meet at

or near the intersection of Turk and Polk Streets in San Francisco where I would purchase $100

worth of heroin.

       6.       At approximately 1:52 p.m., I arrived at the intersection of Turk and Polk Streets

in San Francisco. Moments later, I observed AVILA-DIAZ (who I identified from a booking photo

from one of his prior arrests) arrive wearing a black hat, black sweater, black Nike sweatpants,

and white shoes. My conversations with AVILA-DIAZ during this and subsequent controlled

purchases were captured by DEA recording equipment (audio and video) that I had on my person.

       7.       I asked AVILA-DIAZ if he had $100 worth of “black” (heroin), and he confirmed

he did, pulling plastic baggies containing a black rock-like substance I recognized to be heroin

from his front sweater pocket. I then asked AVILA-DIAZ if he had any “yellow” (which I know

from my training and experience is a street and slang word for fentanyl). AVILA-DIAZ asked

how much “yellow” I wanted, and I responded that I wanted “an ounce.” But AVILA-DIAZ then

told me he did not have any “yellow,” and that he only had “chiba,” which I know from my

training and experience is a street and slang term for heroin.

       8.       I handed AVILA-DIAZ $100 for the heroin and observed him reach into his left

front pants pocket, from which he removed a clear plastic bag containing several smaller clear

plastic bags that themselves contained what appeared to be both heroin and cocaine.
       9.       I then negotiated with AVILA-DIAZ to purchase approximately $200 worth of

cocaine and handed him $200 in exchange for multiple baggies containing a white powdery

substance resembling cocaine. (This was in addition to the $100 I had previously given AVILA-

DIAZ for the heroin.)

       10.      Before ending the transaction, I showed AVILA-DIAZ a cellphone that displayed

(415) 879-0253—the number assigned to TT1—on the screen. I asked AVILA-DIAZ if that was

his number and AVILA-DIAZ confirmed it was. I told AVILA-DIAZ I wanted “yellow”

(fentanyl) next time and that I would call him the following week. AVILA-DIAZ told me he


                                                 7
             Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 9 of 16




would call for fentanyl next time, which I understood him to mean he would call his supplier to

get fentanyl to sell to me. The drug transaction concluded at approximately 1:58 p.m., when I left

the location.

       11.      Following the drug transaction, law enforcement officers tested the suspected

heroin and cocaine using a TruNarc Analyzer. The suspected heroin tested positive for heroin,

and the suspected cocaine tested positive for cocaine.

       January 18, 2023: Second UC Purchase

       12.      On January 17, 2023, I sent a recorded text message to TT1 at approximately 2:31

p.m. to coordinate a drug transaction for the following day. Specifically, I asked AVILA-DIAZ

for “1oz yellow”—that is, one ounce of fentanyl—and he confirmed by saying “Oz tumorrow.”

       13.      The following day, at approximately 1:41 p.m., AVILA-DIAZ used TT1 to send

me a text message with a Google pin location for 200 Larkin Street in San Francisco, which is in

the Tenderloin district and which is the address for the Asian Art Museum. I understood AVILA-

DIAZ to be telling me that was to be the location for our transaction, and immediately after he

sent me the Google pin location, he and I negotiated a price of $360 for the ounce of fentanyl.

AVILA-DIAZ also agreed to bring some “Chiba”—that is, heroin—when I told him I would

bring “a lil extra” money for it.

       14.      At approximately 2:45 p.m., I walked to the vicinity of 200 Larkin Street in San

Francisco, where I observed AVILA-DIAZ standing on the sidewalk wearing a black hat and

black sweatshirt. We sat on the sidewalk and conducted the transaction. AVILA-DIAZ handed

me a clear plastic bag containing a white, rock-like, powdery substance, which I suspected to be

fentanyl, and I gave him $360 in cash. After I paid for the fentanyl, I asked AVILA-DIAZ for

“$240 worth” of heroin, as we had discussed via text message earlier that day. He handed me

several clear plastic bags containing a substance I believed to be heroin, and I gave him $240 in

cash. The drug transaction concluded, and I left the location.

       15.      Following the drug transaction, law enforcement officers tested the suspected

fentanyl using a Premier Bio-Dip test kit. The suspected fentanyl tested positive for the presence

                                                 8
          Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 10 of 16




of fentanyl.

C.      Agents Observe AVILA-DIAZ Conferring with Suspect 2 (MEJIA) During UC Buy

        February 2, 2023: Third UC Purchase

        16.     On February 1, 2023, I sent a recorded text message to TT1 at approximately 1:49

p.m. to coordinate a drug transaction for the following day. Specifically, I asked AVILA-DIAZ

for two ounces of fentanyl, and he confirmed he would have it.

        17.     The following day, at approximately 11:35 a.m., I made a recorded call to

AVILA-DIAZ on TT1, in which I told him I would arrive for the drug transaction in about an

hour.

        18.     At approximately 12:40 p.m., I walked to the vicinity of 200 Larkin Street in San

Francisco, where I approached AVILA-DIAZ, who was on the phone speaking in Spanish. I

overheard AVILA-DIAZ say “amarillo,” which is a Spanish word meaning “yellow.” As

discussed elsewhere in this affidavit, I know from my training and experience that “yellow” is a

street and slang term for fentanyl. Thus, I believe AVILA-DIAZ was on the phone with a

possible fentanyl supplier for the purposes of acquiring fentanyl to sell to me.

        19.     AVILA-DIAZ and I greeted one another and walked northbound on Larkin Street

toward my undercover vehicle. Upon arrival at my undercover vehicle, AVILA-DIAZ showed

me an English translation/dictation on his cellphone which stated, in English, that his brother was

bringing the “feno”—which I understood from my training and experience to refer to fentanyl—

and he (AVILA-DIAZ) was waiting on him. Shortly thereafter, AVILA-DIAZ told me that he

would return.

        20.     Agents observed AVILA-DIAZ walk away, meet with another man whose

identity was unknown at the time (SUSPECT 2, who was later identified by agents as MEJIA),

and walk down Fulton Street.

        21.     Law enforcement officers conducting surveillance followed AVILA-DIAZ and

SUSPECT 2 on foot and, at approximately 12:48 p.m., observed them talking in front of the

Civic Center BART Station entrance with an unknown Hispanic male (“UM”). After a short

                                                 9
          Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 11 of 16




time, law enforcement officers observed SUSPECT 2 walk to Market Street and leave the area.

Shortly thereafter, surveillance units observed UM point toward 7th Street and Market Street and

AVILA-DIAZ begin walking in that direction.

       22.     Between approximately 12:57 p.m. and approximately 1:10 p.m., AVILA-DIAZ

(using TT1) and I had the following text message conversation:

               AVILA-DIAZ:            He’s in a hurry, look, he’s not coming (12:57 p.m.)

               Me:                    I just need 2 can u call ur guy money is good (1:03 p.m.)

               AVILA-DIAZ:            It’s just that today is a hot day, that’s why the person Feno
                                      is walking around hasn’t come. (1:10 p.m.)

       23.     Based on my training and experience, I believe AVILA-DIAZ was informing me

that his “brother,” who allegedly had the fentanyl, was not coming. I informed AVILA-DIAZ

that I had the money ready for the fentanyl sale (“money is good”). When AVILA-DIAZ said

that “today is a hot day” which is “why the person Feno is walking around hasn’t come,” I

believe, based on my training, experience, and conversations with other law enforcement

officers, that AVILA-DIAZ was indicating to me that his fentanyl source was not accessible or

present in the area due to an increased police presence (“hot day”).

       24.     Nevertheless, at approximately 1:17 p.m., I sent AVILA-DIAZ a text message

stating: “How long? I gotta make some moves soon,” and AVILA-DIAZ immediately

responded: “3 minutos.” Five minutes later, at approximately 1:22 p.m., AVILA-DIAZ sent me a

text message saying: “boy on the way.”
       25.     At approximately 1:36 p.m., about 14 minutes after he told me “boy on the way,”

AVILA-DIAZ sent me a text message saying “come here.” I then walked to the corner of 200

Larkin Street, where I observed AVILA-DIAZ talking with SUSPECT 2.

       26.     AVILA-DIAZ and I sat down near the sidewalk of the Asian Art Museum in the

vicinity of 200 Larkin Street to conduct the narcotics transaction.

       27.     AVILA-DIAZ handed me three clear plastic bags containing a white, rock-like,

powdery substance, which he had retrieved from his person and which I suspected to be fentanyl.



                                                10
          Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 12 of 16




When I asked, “you got two, right?,” AVILA-DIAZ said “yeah,” confirming he provided me

with two ounces of fentanyl. AVILA-DIAZ placed the fentanyl in my sweater pocket, and I

asked for $100 of “chiba” (heroin). AVILA-DIAZ handed me several small clear plastic baggies

containing a black, hard, rock-like substance, which he retrieved from a pants pocket and which I

suspected to be heroin. I handed AVILA-DIAZ $800 in cash for the suspected fentanyl and

heroin, concluded the transaction with AVILA-DIAZ, and walked away from the deal.

       28.     Following the deal, law enforcement officers submitted the suspected fentanyl for

laboratory testing. The DEA laboratory confirmed that the suspected fentanyl tested positive for

the presence of fentanyl and had a net weight of approximately 57.3 grams.

D.     Agents Identify MEJIA as AVILA-DIAZ’s Accomplice, SUSPECT 2

       29.     After the third UC purchase on February 2, 2023, agents conducted a toll analysis

on TT1 and determined that the user of a phone assigned call number (510) 767-1426 had

communicated with AVILA-DIAZ (on TT1) several times that day before AVILA-DIAZ sold

fentanyl and heroin to me.

       30.     In light of the facts described above, I believed SUSPECT 2 was the user of (510)

767-1426, and after running that phone number through law enforcement databases, I learned

that a man named Kevin Estrada-MEJIA used it in connection with approximately 32 wire

transfers to Honduras between February 2021 and May 2023. (A person who wishes to send

money to a foreign country using wire remitter services ordinarily must provide a phone number
to complete the transaction.)

       31.     I also (i) obtained subscriber information for the phone number (510) 767-1426,

which is subscribed to “Wireless Caller” at “830 20th Street, Richmond, CA”; and (ii) conducted

a criminal history check on, and obtained a photograph of, MEJIA, who I recognized as

SUSPECT 2—the then-unknown man I and other agents had seen with AVILA-DIAZ several

times on February 2, 2023.




                                               11
           Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 13 of 16




E.     MEJIA Aids and Abets AVILA-DIAZ’s Sale of Fentanyl to UC

       February 16, 2023: Fourth UC Purchase

       32.     On February 16, 2023, I sent a recorded text message to TT1 at approximately

11:08 a.m., in which I coordinated a purchase of two ounces of fentanyl from AVILA-DIAZ for

later that day. About an hour later, AVILA-DIAZ confirmed the deal for “[t]wo yellow” and said

he would “be waiting for [me].” We subsequently agreed to meet later that afternoon at the same

location as two of our prior transactions: 200 Larkin Street in San Francisco.

       33.     At approximately 3:02 p.m., I sent a text message to TT1 to tell AVILA-DIAZ I

had arrived to conduct the narcotics transaction. AVILA-DIAZ (using TT1) responded at 3:04

p.m. to say: “Same place wait for me there.” AVILA-DIAZ arrived at approximately 3:30 p.m.

and handed me several clear plastic bags containing a white, rock-like, powdery substance,

which I suspected to be fentanyl and which AVILA-DIAZ placed in my jacket pocket. In

exchange, I gave AVILA-DIAZ $700 in cash.

       34.     After I paid for the two ounces of suspected fentanyl, I asked AVILA-DIAZ for

two more ounces of fentanyl and $200 worth of “chiba” (heroin). AVILA-DIAZ walked away

and I saw him make a phone call. He concluded the phone call, walked back over to me and said,

“he coming, 10 minutes.” Toll analysis on TT1 subsequently confirmed that AVILA-DIAZ

called MEJIA (at 510-767-1426) right around this time. 2
       35.     Not long thereafter, MEJIA arrived and walked up to AVILA-DIAZ, handing him

multiple clear plastic bags containing a white substance. I observed AVILA-DIAZ place the bags

in his front sweater pocket. Immediately thereafter, AVILA-DIAZ approached me and sat down

next to me. I asked him “that’s your boy?” and AVILA-DIAZ replied “yeah.” AVILA-DIAZ

handed me a plastic baggie containing a brown, powdery substance that I suspected to be heroin.

He then pulled several clear plastic baggies from his front sweater pocket (the same pocket in

which I had just observed AVILA-DIAZ place the bags he had received from MEJIA), each of

       2
        On that same date, February 16, 2023, agents surveilling MEJIA called the phone
number MEJIA was believed to use (510-767-1426) and physically observed MEJIA answer the
phone, confirming he does, in fact, use that phone number.

                                                12
           Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 14 of 16




which contained a white powdery substance I suspected to be fentanyl, and handed them to me. I

took the suspected heroin and fentanyl and paid AVILA-DIAZ $860 (on top of the $700 I had

given him a few minutes prior for the original two ounces of suspected fentanyl). The drug

transaction concluded a few minutes later.

       36.     After the deal concluded, law enforcement officers submitted the suspected

fentanyl for testing at the DEA laboratory. The DEA laboratory confirmed that the suspected

fentanyl tested positive for the presence of fentanyl and had a net weight of approximately 109.8

grams (gross). The suspected heroin weighed 34.6 grams.

F.     MEJIA and AVILA-DIAZ Communicate with One Another About Narcotics

       37.     On May 11, 2023, the Hon. Edward J. Davila issued an order authorizing the

interception of wire and electronic communications to and from TT1. See Case No. 23-CR-

90895 MISC EJD.

       38.     On May 12, 2023, the DEA began intercepting wire and electronic

communications to and from TT1. Interceptions on TT1 continued every day through June 1,

2023, when AVILA-DIAZ was arrested, except for two days in May during which TT1 was

temporarily out of service. MEJIA and AVILA-DIAZ communicated with one another on at least

six days in that timeframe: every day from May 12-15 and on May 17 and May 19.

       39.     For example, on May 14, 2023, at approximately 1:21 p.m., a call from MEJIA

(using 510-767-1426) to AVILA-DIAZ (on TT1) was intercepted and recorded (TT1, Call No.
16123). The conversation between MEJIA and AVILA-DIAZ occurred in Spanish. A summary

of the call, which was translated to English by a DEA-employed linguist, is as follows 3:

       Parties greeted. MEJIA said the dude (third party) had the money and asked if
       AVILA-DIAZ had another ½. AVILA-DIAZ said he (AVILA-DIAZ) only had ¼.
       MEJIA asked AVILA-DIAZ to hold on and said he (MEJIA) was going to tell him
       (third party). [Aside: MEJIA said he (AVILA-DIAZ) only had ¼.] MEJIA said he
       (third party) said that was fine. AVILA-DIAZ said okay and said he (AVILA-DIAZ)
       would bring it (¼) to MEJIA. MEJIA asked if AVILA-DIAZ was on 9th (Street),

       3
         This is a non-verbatim account based upon an initial summary that was prepared by
DEA linguists. As such, it is possible that there will be discrepancies between the description set
forth above and any final transcripts that are prepared.

                                                13
          Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 15 of 16




       AVILA-DIAZ said yes, on 9th (Street). MEJIA told AVILA-DIAZ to come down and
       said they (MEJIA and third party) were going up. AVILA-DIAZ said okay, he
       (AVILA-DIAZ) would go shortly. MEJIA said okay and restated they (MEJIA and
       third party) were going up.

       40.     The foregoing summary is only a preliminary (and partial) summary/synopsis of

the conversation between MEJIA (using 510-767-1426) and AVILA-DIAZ (using TT1).

       41.     I believe that the intercepted call summarized above involved a discussion of a

sale of narcotics by MEJIA to an unknown third party. I further believe that MEJIA asked

AVILA-DIAZ if he had a particular quantity of narcotics (possibly either ½ ounce or ½ pound),

that AVILA-DIAZ said he only had ¼ (possibly either ¼ ounce or ¼ pound), that the third party

told MEJIA the lower quantity of narcotics (¼) was fine, and that AVILA-DIAZ told MEJIA he

(AVILA-DIAZ) would bring the ¼ to MEJIA. I know from training and experience and my

knowledge of other drug trafficking investigations in the Bay Area that narcotics traffickers will

deal in quantities such as ½ ounce or ¼ pound, and that they refer to those quantities in

shorthand as simply ½ or ¼.

       42.     In light of the foregoing, and based on my training and experience, I believe

MEJIA and AVILA-DIAZ are working together to sell narcotics, including fentanyl, heroin, and

cocaine, in the Tenderloin district of San Francisco, California, and that they are communicating

with one another (and others) about drug sales, among other things.
                                     SEALING REQUEST

       43.     Based on my training and experience, the disclosure of the existence of this

Affidavit, the Complaint, arrest warrant, and/or all related documents may cause MEJIA’s co-

conspirators, known and as-yet unknown, to destroy evidence or to conceal ongoing criminal

activity, jeopardizing the progress of this ongoing investigation. The disclosure of these

documents may also cause co-conspirators to flee from prosecution. I therefore request that the

Court seal this Affidavit, the Complaint, the summons and arrest warrant, and all related

documents.




                                                14
          Case 3:23-cr-00298-JD Document 1 Filed 06/08/23 Page 16 of 16




                                         CONCLUSION

       44.     Based on the facts set forth in this affidavit, I believe there is probable cause to

believe MEJIA distributed—and/or aided and abetted the distribution of—a mixture or substance

containing a detectable amount of N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ]

propanamide, also known as fentanyl, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C) and 18

U.S.C. § 2.




                                                        /s/ Connor R. Hooper
                                                       CONNOR R. HOOPER
                                                       Special Agent
                                                       Drug Enforcement Administration


Sworn to before me over the telephone and signed
by me pursuant to Fed. R. Crim. P. 4.1 and
4(d) on this 8th day of June 2023.




HON. SALLIE KIM
UNITED STATES MAGISTRATE JUDGE




                                                 15
